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                                    CERTIFICATE OF FILING

       I hereby certify that on November 19, 2004, a copy of the foregoing "APPENDIX TO

DEFENDANT'S REPLY TO PLAINTIFF'S RESPONSE TO DEFENDANT'S CROSS-

MOTION FOR SUMMARY JUDGMENT ON LIABILITY" was filed electronically. I

understand that notice of this filing will be sent to all parties by operation of the Court's

electronic filing system. Parties may access this filing through the Court's system.

                                                       s/ Joshua E. Gardner
